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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION


 IN RE APPLICATION OF
 HORNBEAM CORPORATION
                                                              No. 14-24887-CV-SEITZ/TURNOFF
 REQUEST FOR DISCOVERY PURSUANT TO
 28 U.S.C. § 1782


      VADIM SHULMAN’S UNOPPOSED MOTION FOR LEAVE TO SEAL THE
  ORIGINAL VERSIONS OF HIS REPLY IN SUPPORT OF INTERVENTION AND THE
                REPLY DECLARATION OF BRIAN DOCTOR

         Applicants Hornbeam Corporation, Bracha Foundation and proposed Intervenor Vadim

  Shulman (“Applicants”), by and through counsel, respectfully file this unopposed motion for an

  Order sealing the original versions of (1) Shulman’s Reply in Support of his Motion for

  Intervention and to Proceed with Discovery [ECF 99] and (2) the Reply Declaration of Brian

  Doctor QC [ECF 99-1], and in support thereof, states as follows:

         On August 2, 2017, Shulman filed his reply brief in support of his June 30, 2017 motion

  to intervene in this action [ECF 99]. Shulman attached to his filing a reply declaration on certain

  matters of English Law from Brian Doctor QC, an English barrister and Queen’s Counsel. On

  August 4, 2017, representatives from Mr. Bogolyubov, one of the respondents in Shulman’s

  English Action, contacted Shulman’s English counsel asserting that Shulman’s Florida

  submission contained certain information from the English Action that, according to

  Bogolyubov, should not be used in this action. Shulman disputes that his filings contained any

  improper information, but offered to file substitute versions of his reply brief and Mr. Doctor’s

  expert declaration, and to request that the original versions of these documents be sealed, to moot
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  the issue. Mr. Bogolyubov’s counsel responded that they would like Mr. Shulman to take these

  steps, and counsel for intervenors Panikos Symeou and Halliwel Assets, Inc. agreed.

         The purpose of sealing the original versions of documents 99 and 99-1 is to preserve the

  confidentiality of the information at issue, which relates to Mr. Bogolyubov’s filings in the

  English court, and to prevent the original versions of those documents from remaining publicly

  available.   No party will be adversely affected by the requested sealing, as Mr. Shulman has

  already filed substitute versions of documents 99 and 99-1 that do not contain the information

  Mr. Bogolyubov contends should remain confidential.

         WHEREFORE, Applicants respectfully request that the Court enter an Order sealing the

  original documents filed as documents 99 and 99-1.

                           LOCAL RULE 7.1(a)(3) CERTIFICATION

         The undersigned hereby confirms that they conferred with counsel for the Symeou

  Parties, who stated that they consent to Shulman’s request for relief.

         Respectfully submitted this 15th day of August, 2017.




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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 15th day of August, 2017, I served a true and correct

  copy of this document on all counsel of record via electronic filing through the Court’s ECF

  system.



                                                   /s/ David B. Massey




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